               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 1 of 27



1    Michael S. O'Meara
     The O’Meara Law Office, P.S.
2    1602 Virginia Ave
     Everett, WA 98201
3

4

5

6

7

8

9

10                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
11                                      SEATTLE DIVISION
12
     AMANDA SCHICK,
13
                             Plaintiff,                      Civil Action No. 2:20-cv-01529-BJR
14

15          v.
                                                             DEFENDANT’S OPPOSITION TO
16   STUDENT LOAN SOLUTIONS, LLC,                          PLAINTIFF’S MOTION FOR PARTIAL
                                                                SUMMARY JUDGMENT
17                           Defendant.

18

19                                           I.      INTRODUCTION
20
             Plaintiff Amanda Schick (“Plaintiff” or “Ms. Schick”) applied for and obtained a student
21
     loan from Bank of America, N.A. (“Bank of America”). A few years later, she filed a bankruptcy
22
     petition which identified this precise loan with the precise amount then owed. The loan was not
23
     discharged because it meets at least one of the criteria for nondischargeability found in 11 U.S.C.
24
     § 523(a)(8). Plaintiff failed to pay the loan as agreed and Bank of America placed it with Williams
25
     & Fudge, Inc. (“WFI”) to assist with collection. Plaintiff then made twenty consecutive monthly
      Defendant’s Opposition to Partial Summary Judgment          THE O’MEARA LAW OFFICE
                                                                     1602 VIRGINIA AVE
      PAGE 1                                                         EVERETT, WA 98201
                                                              MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 2 of 27



1    payments towards the obligation, which she has both admitted and denied doing within this action.
2    SLS then purchased a portfolio of student loans from Bank of America, which included Plaintiff’s
3
     loan. SLS placed the loan with WFI to assist with collection.
4
             After receiving a communication from WFI regarding the loan, Plaintiff called WFI.
5
     During the call, she acknowledged owing the loan to SLS and inquired about possible resolutions.
6
     Unfortunately, she could not presently afford the resolutions WFI was authorized to offer. A
7
     couple years later, the loan was placed with the counsel to file suit. At no point prior to placing
8
     the loan with counsel had Plaintiff disputed the loan or otherwise claimed she never received the
9

10
     funds. Counsel sent Plaintiff a letter regarding the debt, and she responded with a letter disputing

11   the debt and requesting verification. After sending the validation documents, counsel filed suit on

12   behalf of SLS against Plaintiff. That action is still pending.

13           Shortly after filing her answer in the other action, Plaintiff filed this action in state court

14   (and SLS removed same) asserting violations of state and federal consumer statutes. She contends
15
     the verification documents contained false statements, and that she has no idea who SLS is or why
16
     she would owe them so much money. Plaintiff also now contends, for the first time, that she never
17
     received the loan from Bank of America. She submits documents which she claims shows she did
18
     not need the loan because everything was covered by her financial aid package, but her own
19
     evidence shows she received significant funds from an outside source which she never identifies.
20
     SLS contends that outside source is the Bank of America loan. Moreover, Plaintiff’s claimed
21
     recollection of events transpiring approximately fourteen to fifteen years ago is remarkably clear
22

23
     considering she cannot seem to recall events from three years ago for which she possess

24   documentation.

25           Plaintiff contends “[i]f SLS has legitimate, admissible evidence that Ms. Schick owes


      Defendant’s Opposition to Partial Summary Judgment            THE O’MEARA LAW OFFICE
                                                                       1602 VIRGINIA AVE
      PAGE 2                                                           EVERETT, WA 98201
                                                                MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 3 of 27



1    money (such as, perhaps, the promissory note that SLS claims exists, or evidence that anyone ever
2    received a dime), it has had ample opportunity to come forward.” Plaintiff is intentionally
3
     misreading the document attached to both her complaint and declaration, which clearly states it is
4
     both an application and an agreement. In short, this document and the Note Disclosure Statement
5
     it expressly incorporates are the promissory note between Plaintiff and Bank of America, which
6
     was purchased and assigned to SLS. Moreover, SLS has specifically requested Plaintiff’s bank
7
     statements for the time frame the loan was disbursed, which almost certainly would show whether
8
     she “ever received a dime.” Despite being obligated to produce this highly relevant evidence, and
9

10
     despite claiming to have produced same, Plaintiff failed to produce any bank statements at all. Not

11   only does she now fault Defendant for not having these bank statements, she asks the Court to hold

12   SLS liable because it does not have them. Plaintiff cannot shirk her discovery obligations and

13   obtain judgment against SLS for lacking the documents she failed to provide.

14           At all times, Plaintiff has acted in a manner which would indicate that she received the
15
     loan, and has even previously admitted to having received it. She cannot now claim otherwise
16
     when it suits her, especially when she refuses to provide documentation which would almost
17
     assuredly corroborate one party’s version of events. Plaintiff’s own evidence creates material
18
     issues of fact showing she is not entitled to summary judgment, and the Court should deny the
19
     motion on that basis alone. Moreover, Plaintiff’s failure to provide discovery and her contradictory
20
     statements (both within these proceedings and prior to them) show SLS needs additional discovery
21
     to fully and properly oppose Plaintiff’s motion. The Court should therefore also deny the motion
22

23
     on that basis under Fed. R. Civ. P. 56(d) or, alternatively, defer considering the motion until

24   discovery is complete

25                                         II.      RELEVANT FACTS


      Defendant’s Opposition to Partial Summary Judgment          THE O’MEARA LAW OFFICE
                                                                     1602 VIRGINIA AVE
      PAGE 3                                                         EVERETT, WA 98201
                                                              MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 4 of 27



1            Plaintiff sought and obtained a student loan from Bank of America in 2007.             See
2    Declaration of Student Loan Solutions, LLC (“SLS Decl.”), ¶¶ 19, 22. Her agreement with Bank
3
     of America states deferred interest will be capitalized. SLS Decl., ¶¶ 18, 24-24. She acknowledges
4
     being a full time student until May 2013. See Declaration of Michael S. O’Meara (“O’Meara
5
     Decl.”), ¶ 4 and Ex. A at p. 8, Int. Resp. 12. Accrued interest therefore capitalized during that
6
     entire period. SLS Decl., ¶¶ 23-27 and Ex. C. In 2010, she filed a bankruptcy petition which listed
7
     only one student loan owed to Bank of America, and which identified the exact amount due after
8
     capitalized interest was added on January 4, 2010. O’Meara Decl, Ex. B at SHCICK000019-
9

10
     SCHICK000023 and SLS Decl., ¶ 28 and Ex. D. As explained infra, the loan was not discharged.

11   Plaintiff did not make the agreed upon payments and Bank of America placed the loan with WFI

12   to assist with collection. SLS Decl., ¶ 26 and Ex. C, WFI Decl., ¶¶ 4-5. Plaintiff then made twenty

13   consecutive monthly payments of $50.00 to WFI toward the balance of the loan. WFI Decl., ¶¶ 7,

14   9 and Ex. A, O’Meara Decl., ¶ 4 and Ex. B at SCHICK000057-SCHICK000099 and Schick Decl.,
15
     DE 19-1, p. 3, ¶ 11. Curiously, she both concedes making these payments while simultaneously
16
     denying she made them. Schick Decl., DE 19-1, p. 3, ¶ 11, and O’Meara Decl., ¶ 4 and Ex. A at
17
     p. 12-20, RFA resp. 4-26. At no point did Plaintiff dispute the debt with Bank of America or WFI,
18
     and at no point did she make a claim to Bank of America or WFI that she did not receive the loan.
19
     SLS Decl., ¶
20
             SLS acquired Plaintiff’s loan when it purchased a portfolio of student loans from Bank of
21
     America. SLS Decl., ¶¶ 3-9, and Ex. A-D. Plaintiff received communication from WFI regarding
22

23
     the transfer of her loan from Bank of America to SLS. SLS Decl., ¶ 12 and O’Meara Decl., ¶ 4

24   and Ex. B at SCHICK00100-SCHICK000101. In response to these communications, Plaintiff

25   contacted WFI via telephone and, during the call, she admitted owing the loan to SLS and


      Defendant’s Opposition to Partial Summary Judgment         THE O’MEARA LAW OFFICE
                                                                    1602 VIRGINIA AVE
      PAGE 4                                                        EVERETT, WA 98201
                                                             MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 5 of 27



1    attempted to negotiate a resolution. WFI Decl., ¶¶ 13-14 and Ex. B at Call Trans., p. 2-15. At no
2    point during the call did she claim she never received the loan or inquire as to the identity of SLS
3
     or why she would owe SLS any money. Id. Plaintiff made no further payments and SLS placed
4
     the loan with counsel to file suit. WFI Decl., ¶¶ 15-18 and SLS Decl., ¶¶ 33-36. Counsel’s office
5
     sent a letter to Plaintiff and a verification in response to her dispute. DE 1-1, pp. 14, 16-27.
6
     Counsel then filed suit on behalf of SLS against Plaintiff. DE 1-1, pp. 29-32. That lawsuit is still
7
     pending. O’Meara Decl., ¶ 17.
8
             After filing an answer to that action, Plaintiff filed her complaint in this action. She now
9

10
     claims to have been confused by the letters and documents provided by counsel’s office and claims

11   to have no earthly idea who SLS is or why she might owe SLS money. DE 1-1, p. 6, ¶ 7 and Schick

12   Decl., DE 19-1, p. 3, ¶ 13. She makes these claims despite having documentation as to who SLS

13   is and why she owes SLS the identified balance, and despite having spoken to WFI about it in

14   2018. O’Meara Decl., ¶ 4 and Ex. B at SCHICK00100-SCHICK000101, WFI Decl., ¶¶ 13-14 and
15
     Ex. B at Call Trans. p. 2-15. Despite claiming the documents were misleading, she does not
16
     identify any action she took in reliance on them. See, generally, DE 1-1, pp. 5-12 and Schick Decl.,
17
     DE 19-1, pp. 1-4. She also claims that she sought the advice of counsel only after the lawsuit was
18
     filed. Schick Decl., DE 19-1, pp. 3-4, ¶ 19.
19
                                        III.    STANDARD OF REVIEW
20
             Summary judgment is appropriate only when there are no genuine issues of material fact
21
     and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v.
22

23
     Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). Summary judgment is

24   mandated under Rule 56(c) if there are no genuine issues as to any material fact “after adequate

25   time to complete discovery…” Id. at 317 (emphasis added). All reasonable inferences are to be


      Defendant’s Opposition to Partial Summary Judgment          THE O’MEARA LAW OFFICE
                                                                     1602 VIRGINIA AVE
      PAGE 5                                                         EVERETT, WA 98201
                                                              MICHAEL@OMEARALAWOFFICE.COM
                 Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 6 of 27



1    drawn in favor of the non-moving party. Anderson v, Liberty Lobby, Inc., 477 U.S. 242, 255
2    (1986). The role of the Court is not to “weigh the evidence or determine the truth of the matter,
3
     but only [to] determine[] whether there is a genuine issue for trial.” Balint v. Carson City, Nev.,
4
     180 F.3d 1047, 1054 (9th Cir. 1999). “[I]f direct evidence produced by the moving party conflicts
5
     with direct evidence produced by the nonmoving party, the judge must assume the truth of the
6
     evidence set forth by the nonmoving party with respect to that fact.” Leslie v. Grupo ICA, 198
7
     F.3d 1152, 1158 (9th Cir 1999) (internal citation and quotation marks omitted). The Court cannot
8
     “disregard direct evidence on the ground that no reasonable jury would believe it.” Id. (citation
9

10
     omitted).

11                                              IV.        ARGUMENT

12   a. Plaintiff is Estopped from Denying She Received the Loan

13           According to the Washington Supreme Court:

14           Estoppel is a preclusion in law, which prevents one alleging or denying a fact in
             consequence of his own previous act, allegation, or denial, of a contrary tenor.
15
             Equitable estoppel, or estoppel in pais, is that condition in which justice forbids that
             one speak the truth in his own behalf. It stands simply as the rule of law which
16
             forecloses one from denying his own express or implied admission, which has in
17           good faith, and in pursuance of its purpose, been accepted and acted upon by
             another. To constitute estoppel in pais, three things must occur: (1) An admission,
18           statement, or act inconsistent with the claim afterwards asserted; (2) action by the
             other party on the faith of such admission, statement, or act; and (3) injury to such
19           other party resulting from allowing the first party to contradict or repudiate such
             admission, statement, or act.
20
     Thomas v. Harlan, 27 Wash.2d 512, 518, 178 P.2d 965, 968 (Wash. 1947).
21
             The crux of Plaintiff’s argument is her contention she did not receive the Bank of America
22

23
     loan.   She asserts “[t]he single document containing her signature is an application, not a

24   ‘promissory note’ as SLS has falsely claimed.” DE 19, p. 4. This contention is directly

25   contradicted by the documents Plaintiff attaches both to her complaint and declaration. See DE 1-


      Defendant’s Opposition to Partial Summary Judgment            THE O’MEARA LAW OFFICE
                                                                       1602 VIRGINIA AVE
      PAGE 6                                                           EVERETT, WA 98201
                                                                MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 7 of 27



1    1, pp. 22-27 and DE 19-1, pp. 16-21. The title of the document which Plaintiff claims is only an
2    application is “Loan Request/Credit Agreement.” DE 1-1, p. 22 and DE 19-2, p. 16. Moreover,
3
     the signature page indicates it was faxed from a telephone number with a 503 area code, which is
4
     an area code associated with Portland, Oregon. Id. The document itself states:
5
             HOW I AGREE TO THE TERMS OF THIS LOAN. By signing this Credit
6            Agreement, and submitting it to the Lender, I am requesting that you make this loan
             to me in an amount equal to the Loan Amount Requested plus any Loan Origination
7            Fee described in Paragraph F of this Credit Agreement. If you approve this request
             and agree to make this loan, you will notify me in writing and provide me with a
8            Disclosure Statement, as required by law, at the time the loan proceeds are
             disbursed. The Disclosure Statement is incorporated herein by reference and made
9
             a part hereof. The Disclosure Statement will tell me the amount of the loan which
10
             you have approved, the amount of the Loan Origination Fee, and other important
             information. I will let you know that I agree to the terms of the loan as set forth in
11           this Credit Agreement and in the Disclosure Statement by doing either of the
             following: (a) endorsing or depositing the check that disburse the loan proceeds; or
12           (b) using or allowing the loan proceeds to be used on my behalf without objection.
             Upon receipt of the Disclosure Statement, I will review the Disclosure Statement
13           and notify you in writing if I have any questions. If I am not satisfied with the
             terms of my loan as disclosed in the Disclosure Statement, I may cancel my
14           loan. To cancel my loan, I will give you a written cancellation notice within
             ten (10) days after I receive the Disclosure Statement. If loan proceeds have
15
             been disbursed, I agree that I will immediately return the loan proceed to you, will
             not endorse any check which disburses the loan proceeds and will instruct the
16
             School to return many loan proceeds to you. If I give notice of cancellation but do
17           not comply with the requirements of this Paragraph B.2, this Credit Agreement will
             not be cancelled and I will be in default of this Credit Agreement. (See Paragraph
18           I.)

19   DE 1-1, p. 23, ¶ B.2, Schick Decl., DE 19-1, p. 17, ¶ B.2, and SLS Decl., ¶¶ 16-18, and Ex. B, ¶

20   B.2 (emphasis in originals).
21           Plaintiff also attaches the Disclosure Statement to both her complaint and her declaration.
22
     See DE 1-1, p. 27 and DE 19-1, 21. The Disclosure Statement states “[t]his disclosure statement
23
     relates to your Loan Note disbursed on August 28, 2007” and identifies a loan amount of
24
     $30,000.00 plus an origination fee of $3,519.55. Id. It also lists Plaintiff’s address as “626 NE
25
     93rd Ave Apt. A, Portland, OR 97220 USA.” Id. This is the same address Plaintiff identifies in

      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 7                                                          EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 8 of 27



1    her discovery responses as her address at the time which, importantly, differs from the address
2    listed on the Credit Agreement. See DE 1-1, p. 22, 27, DE 19-1, p. 16, 21, and O’Meara Decl., ¶
3
     4 and Ex. A at p. 2, Int. Resp. 1. This document along with the markings on the Credit Agreement
4
     are indicia that the loan was in fact provided. The Credit Agreement includes Plaintiff’s signature
5
     and a fax number, which indicates Plaintiff submitted the document to Bank of America, while the
6
     Disclosure Statement with Plaintiff’s updated address indicates the funds were provided. The only
7
     thing Plaintiff has not provided is her bank statements showing the funds were deposited, despite
8
     these items being specifically requested, and despite representing that they have been produced.
9

10
     O’Meara Decl., ¶ 4 and Ex. A at p. 26, RFP Resp. 14, Ex. B at SCHICK000001-SCHICK000131.

11   Assuming Plaintiff’s response that she only had one bank account at that time is accurate [O’Meara

12   Decl., ¶ 4 and Ex. A at p. 9, Int. Resp. 15], the account statements would almost certainly

13   corroborate one party’s position.

14           Despite Plaintiff’s assertions to the contrary, her actions and statements prior to June 2020
15
     indicate she received the loan. In her 2010 bankruptcy filing, she identified a student loan with
16
     Bank of America in the amount of $40,338.00, the exact amount due after capitalized interest was
17
     added on January 4, 2010, as one of her debts. O’Meara Decl, ¶ and Ex. B at SHCICK000019
18
     and SLS Decl., ¶ 28 and Ex. D. Importantly, this is the only Bank of America student loan she
19
     identifies. O’Meara Decl., ¶ 4 and Ex. B at SCHICK00000019-SCHICK000023. Plaintiff
20
     contends her bankruptcy “is not germane to the outcome of this case,” so Defendant will not
21
     address it at length. 1 However, the loan in question was not discharged. Student loans which are
22

23
     “made under any program funded in whole or in part by a…nonprofit institution” are excepted

24

25
     1
      Should Plaintiff substantively address her bankruptcy in a reply memorandum, Defendant will seek the Court’s
     permission to file a surreply to address same.
      Defendant’s Opposition to Partial Summary Judgment                  THE O’MEARA LAW OFFICE
                                                                              1602 VIRGINIA AVE
      PAGE 8                                                                  EVERETT, WA 98201
                                                                      MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 9 of 27



1    from discharge. 11 U.S.C. § 523(a)(8)(A)(i). 2 The Credit Agreement states:
2            I understand and agree that this loan is an education loan and certify that it will be
             used only for costs of attendance at the School. I acknowledge that the requested
3
             loan is subject to the limitations on dischargeability in bankruptcy contained in
4
             Section 523 (a)(8) of the United States Bankruptcy Code because either or both of
             the following apply: (a) this loan was made pursuant to a program funded in whole
5            or in part by The Education Resource Institute, Inc. (“TERI”), a non-profit
             institution, or (b) this is a qualified education loan as defined in the Internal
6            Revenue Code. This means that if, in the event of bankruptcy, my other debts are
             discharged, I will probably still have to pay this loan in full.
7
     DE 1-1, p. 25, ¶ L.11, Schick Decl., DE 19-1, p. 19, ¶ L.11., and SLS Decl., ¶¶ 9, 18 and Ex. B, ¶
8
     L.11. Numerous courts have held student loans provided by lenders under a TERI program to be
9

10
     non-dischargeable. See, e.g., In re Loper, 2021 WL 1192534 (Bankr. M.D. Fla. Mar. 29, 2021),

11   In re Medina, 2020 WL 5553451 (Bankr. S.D. Cal. Sept. 10, 2020), In re Mata, 2020 WL 5543716

12   (Bankr. C.D. Cal. July 31, 2020), In re Duits, 2020 WL 256770 (Bankr. S.D. Ind. Jan. 15, 2020),

13   and In re Rodriguez, 319 B.R. 894 (Bankr. M.D. Fla. Feb. 1, 2005).

14           WFI contacted Plaintiff about repaying the Bank of America student loan, which is the
15
     only Bank of America student loan she identified in her bankruptcy petition. Schick Decl., DE 19-
16
     1, p. 2, ¶ 9, and O’Meara Decl., ¶ 4 and Ex. B at SCHICK00000019-SCHICK000023. She then
17
     made twenty consecutive monthly payments to WFI towards the balance of the loan. WFI Decl.,
18
     ¶¶ 7, 9 and Ex. A, O’Meara Decl., ¶ 4 and Ex. B at SCHICK000057-SCHICK000099 and Schick
19
     Decl., DE 19-1, p. 3, ¶ 11. Plaintiff now admits making such payments, despite denying making
20
     the payments in her discovery responses. Schick Decl., DE 19-1, p. 3, ¶ 11, and O’Meara Decl.,
21
     ¶ 4 and Ex. A at p. 12-20, RFA resp. 4-26. In discovery, Plaintiff produced fifteen letters from
22

23
     WFI regarding payments made towards the loan, with each indicating that a payment will be made

24   on a certain date. O’Meara Decl., ¶ 4 and Ex. B at SCHICK000057-SCHICK000099. Plaintiff

25
     2
      Defendant acknowledges that other discharge exceptions may apply. Should Plaintiff substantively raise the issue
     of discharge, Defendant reserves the right to argue nondischargeability on other grounds, if any.
      Defendant’s Opposition to Partial Summary Judgment                      THE O’MEARA LAW OFFICE
                                                                                   1602 VIRGINIA AVE
      PAGE 9                                                                       EVERETT, WA 98201
                                                                       MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 10 of 27



1    also produced a letter from WFI dated December 22, 2017, which identifies the loan as being owed
2    to SLS. O’Meara Decl., ¶ 4 and Ex. B at SCHICK000100-SCHICK000101. The loan number on
3
     this letter is the same as the loan number on the previous letters, and the amount owed is exactly
4
     $50.00 less than the August 25, 2016 letter, which indicated a $50.00 payment would be made on
5
     September 4, 2016. O’Meara Decl., ¶ 4 and Ex. A at SCHICK000057-SCHICK000101.
6
             Shortly thereafter, on January 8, 2018, Plaintiff called WFI to discuss the loan. WFI Decl.,
7
     ¶¶ 13-14 and Ex. B. During the call, she acknowledges owing the loan, specifically stating, “I am
8
     calling regarding an email I received about a debt I have.” WFI Decl., ¶¶ 13-14 and Ex. B at Call
9

10
     Trans., p. 2. After being told the debt is owed to SLS and being provide the current balance,

11   Plaintiff and the WFI representative discuss possible resolutions. WFI Decl., ¶¶ 13-14 and Ex. B

12   at Call Trans., p. 3-15. At no point during the conversation does Plaintiff inquire about the identity

13   of SLS or otherwise indicate she does not know who SLS is. WFI Decl., ¶¶ 13-14 and Ex. B at

14   Call Trans. p. 2-15.      She also does not dispute receiving the loan.       Id.   Rather, Plaintiff
15
     acknowledges having made the previous payments and states she “assumed things had been
16
     resolved because the payments had stopped going through, which is why I haven’t been paying on
17
     it.” WFI Decl., ¶¶ 13-14 and Ex. B at Call Trans. p. 3. Moreover, neither SLS nor WFI have any
18
     record of Plaintiff ever disputing receiving the loan prior to the account being placed with counsel
19
     to collect. SLS Decl., ¶ 10 and WFI Decl., ¶ 17.
20
             Plaintiff now claims that upon receiving a letter about the debt in June 2020 that she “did
21
     not know why [she] would owe so much money to Student Loan Solutions as this was the first
22

23
     time [she] had heard from its attorney…” Schick Decl., DE 19-1, p. 3, ¶ 13. She makes this claim

24   under penalty of perjury despite providing documentation she received about the loan being owed

25   to SLS, despite admitting to having a debt with SLS on a call in January 2018, and despite having


      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 10                                                         EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 11 of 27



1    made twenty payments towards this very loan. Indeed, at all times prior to June 2020, Plaintiff’s
2    actions and statements are wholly consistent with her having received the loan.
3
             SLS purchased a portfolio of student loans from Bank of America. SLS Decl., ¶ 3. Included
4
     in that portfolio was Plaintiff’s loan. SLS Decl., ¶¶ 8-9 and Ex. A-D. SLS received a copy of an
5
     agreement between Plaintiff and Bank of America, the signature page of which appears to be
6
     executed and faxed by Plaintiff, and a Disclosure Statement showing the loan had been disbursed.
7
     SLS Decl., ¶¶ 9, 17-19, 22 and Ex. B-C. Plaintiff made twenty payments towards the balance of
8
     the loan and acknowledged owing the loan to SLS’s agent, WFI. In determining whether to place
9

10
     the loan with counsel for suit, SLS relied on the documents provided by Bank of America, the

11   payments made by Plaintiff, and both Plaintiff’s acknowledgement of the loan and lack of

12   disputing the loan. SLS Decl., ¶¶ 10, 35-36, WFI Decl., ¶¶ 15-18, and O’Meara Decl., ¶ 16 and

13   Ex. C. Allowing Plaintiff to now claim she never took out the loan and to hold SLS liable for

14   filing suit on a loan she now claims never existed would constitute a serious injury to SLS. This
15
     is especially true when Plaintiff contends SLS cannot prove she received funds but fails to produce
16
     highly relevant evidence which would show she received the funds in question, despite SLS
17
     specifically requesting those documents, despite Plaintiff being obligated to produce those
18
     documents, and despite Plaintiff erroneously claiming to have produced those documents. Plaintiff
19
     is therefore estopped from denying she received the loan.
20
             Plaintiff is also judicially estopped from denying she received the loan. “Judicial estoppel,
21
     sometimes also known as the doctrine of preclusion of inconsistent positions, precludes a party
22

23
     from gaining an advantage by taking one position, and then seeking a second advantage by taking

24   an incompatible position.” Rissetto v. Plumbers & Steamfitters Local 343, 94 F.3d 591, 600 (9th

25   Cir. 1996) (citations omitted). “The policies underlying preclusion of inconsistent positions are


      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 11                                                         EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 12 of 27



1    general considerations of the orderly administration of justice and regard for the dignity of judicial
2    proceedings.” Arizona v. Shamrock Foods Co., 729 F.2d 1208, 1215 (9th Cir. 1984), cert. denied,
3
     269 U.S. 1197 (1985) (citation and quotation marks omitted). “The doctrine is intended to protect
4
     against a litigant playing ‘fast and loose with the courts’ by asserting inconsistent positions.”
5
     Rockwell Intern. Co. v. Hanford Atomic Metal Trades Council, 851 F.2d 1208, 1211 (9th Cir.
6
     1988) (citations omitted). “This court has restricted the application of judicial estoppel to cases
7
     where the court relied on, or ‘accepted,’ the party’s previous inconsistent position.” Hamilton v.
8
     State Farm Fire & Cas. Co., 270 F.3d 778, 783 (9th Cir. 2001) (citation omitted). “The application
9

10
     of judicial estoppel is not limited to bar the assertion of inconsistent positions in the same litigation,

11   but is also appropriate to bar litigants from making incompatible statements in two different cases.”

12   Id. (citing Risetto, 94 F.3d at 605).

13           Regarding judicial estoppel, the Supreme Court has said:

14           [S]everal factors typically inform the decision whether to apply the doctrine in a
             particular case: First, a party’s later position must be clearly inconsistent with its
15
             earlier position. Second, courts generally require whether the party has succeeded
             in persuading a court to accept that party’s earlier position, so that judicial
16
             acceptance of an inconsistent position in the later proceeding would create the
17           perception that either the first or the second court was misled… Absent success in
             a prior proceeding, a party’s later inconsistent position introduces no risk of
18           inconsistent court determinations…and thus poses little threat to judicial integrity.
             A third consideration is whether the party seeking to assert an inconsistent position
19           would derive an unfair advantage or impose an unfair determinant on the opposing
             party if not estopped.
20
     New Hampshire v. Maine, 532 U.S. 742, 750-51 (2001) (internal citations and quotation marks
21
     omitted). All three factors weigh in SLS’s favor and thus, Plaintiff is judicially estopped from
22

23
     denying the existence of the loan.

24           Plaintiff filed for bankruptcy, seeking and obtaining a discharge. O’Meara Decl., ¶ 4 and

25   Ex. B. at SCHICK000001-SCHICK000056. While the loan at issue was not discharged for the


      Defendant’s Opposition to Partial Summary Judgment             THE O’MEARA LAW OFFICE
                                                                        1602 VIRGINIA AVE
      PAGE 12                                                           EVERETT, WA 98201
                                                                 MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 13 of 27



1    reasons stated above, Plaintiff nevertheless listed her obligations intending the bankruptcy court
2    to rely on them, and the bankruptcy court did rely on them in determining she could not presently
3
     afford to pay her obligations. SLS expects Plaintiff to argue she merely “listed every entity that
4
     claimed she owed money” and “there is no meaning at all attached to the listing of debts in the
5
     Plaintiff’s bankruptcy case.” O’Meara Decl., ¶ 4 and Ex. A at p. 8, Int. Resp. 10. Plaintiff’s
6
     position is clearly incorrect. First, there is meaning to listing debts because debts are payed out of
7
     the bankruptcy estate based on priority. See, e.g., 11 U.S.C. § 726. As for Plaintiff’s contention
8
     that she was only “list[ing] every entity that claimed she owed money” and the identification of
9

10
     the loan is not an acknowledgement of the loan, this contention does not hold water because the

11   petition she filed specifically address these consideration.    Schedule F of the petition, where the

12   debt is identified, specifically states, in relevant part:

13           State the name, mailing address, including zip code, and last four digits of any
             account number, of all entities holding unsecured claims without priority against
14           the debtor or the property of the debtor, as of the date of filing of the petition. …
             …
15
             If the claim is disputed, place an “X” in the column labeled “Disputed.”
16
     O’Meara Decl., ¶ 4 and Ex. B at SCHICK000019. Here is Plaintiff’s entry for this loan:
17

18

19

20

21

22

23

24
     O’Meara Decl., ¶ 4 and Ex. B at SCHICK000019. Plaintiff did not mark “disputed” for this loan

25   or any of her other debts. She cannot claim to owe this loan for purposes of obtaining a bankruptcy

     and now deny owing it, and she should be judicially estopped from doing so.
      Defendant’s Opposition to Partial Summary Judgment              THE O’MEARA LAW OFFICE
                                                                         1602 VIRGINIA AVE
      PAGE 13                                                            EVERETT, WA 98201
                                                                  MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 14 of 27



1    b. Plaintiff’s Own Evidence and Prior Statements Show Questions of Material Fact
2            Plaintiff states in her declaration:
3
             My memory of my first years of college is relatively clear, as it was a formative
4
             period of my life. For example, during my freshman year in 2006, I took out private
             loans, but after learning about Federal subsidized loans and Pell grants – I
5            remember this event in my life with particular clarity – I did not take any further
             private loans because of better rates and deferred interest.
6

7            In the fall semester of my sophomore year (2007), my tuition, housing, and other
             expenses were paid in full through Stafford loans, grants, and scholarships. To
8            confirm my memory of this, in February 2021, I obtained the attached true and
             correct copy of my student ledger from the fall semester of 2007 (attached as
9            Exhibit A).
10
     Schick Decl., DE 19-1, p. 2, ¶¶ 4-5 and Exhibit A. When asked to “[i]dentify any and all sources
11
     of funds (including but not limited to scholarships, grants, loans, savings, gifts, family, etc.) which
12
     [she] used to pay for [her] tuition and expenses at Multnomah Bible College [now Multnomah
13
     University], as well as any and all living expenses incurred by [her] when [she was] attending
14
     Multnomah Bible College,” Plaintiff provided the following response:
15
             The Plaintiff received a financial aid package from Multnomah University for
16
             tuition room and board and for all other costs of attendance. From 2006-2007, the
             Plaintiff lived on campus housing and had a meal plan for her room and board. In
17
             subsequent years, from 2008 -2013, the Plaintiff lived in off campus housing,
18           sharing rent with roommates but the costs of attendance at Multnomah University
             continued to include a financial aid package that include room and board along with
19           other fees and expenses. Depending on the apartment and living situation, the
             Plaintiff’s rent and living expenses would range from approximately $500-$800 per
20           month, well within the range of the amount allocated in her financial aid package.

21   O’Meara Decl., ¶ 4 and Ex. A at p. 8, Int. Resp. 13. From July/August 2007 to May 2008, Plaintiff
22   resided in an off campus apartment located at 626 NE 93rd Ave., Apt. A, Portland, OR 97220-
23
     5798. O’Meara Decl., ¶ 4 and Ex. A at p. 2, Int. Resp. 1.
24
             In response to discovery requests, Plaintiff produced nine documents, which are all dated
25
     February 8, 2021, and which purport to detail the charges and credits she incurred while she was

      Defendant’s Opposition to Partial Summary Judgment            THE O’MEARA LAW OFFICE
                                                                       1602 VIRGINIA AVE
      PAGE 14                                                          EVERETT, WA 98201
                                                                MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 15 of 27



1    an undergraduate at Multnomah University. O’Meara Decl., ¶ 4 and Ex. B at SCHICK000123-
2    SCHICH000131. Included in these documents is her “student ledger from the fall semester of
3
     2007” which she attaches to her declaration as Exhibit A. Schick Decl., DE 19-1, p. 5, ¶ 5 and Ex.
4
     A, p. 6; and O’Meara Decl., ¶ 4 and Ex. B at SCHICK 000125. Plaintiff contends this document
5
     “confirms [her] memory” that “[i]n the fall semester of [her] sophomore year (2007), [her] tuition,
6
     and other expenses were paid in full through Stafford loans, grants, and scholarships.” Schick
7
     Decl., DE 19-1, p. 2, ¶ 5. Contrary to Plaintiff’s assertion, the student ledger attached as Exhibit
8
     A to her declaration, as well as the student ledgers she produced for her other undergraduate
9

10
     semesters show neither Plaintiff’s story nor her numbers add up.

11           Plaintiff admits taking out private loans during her freshman year in 2006. Schick Decl.,

12   p. 2, ¶ 4. The only loans listed on her student ledger for the 2006 fall semester are a “Plus Loan”

13   and a “Stafford Loan Subsidized,” while the only loans listed on her student ledger for the 2007

14   spring semester are a “Plus Loan” and a “Stafford Loan Subsidized.” O’Meara Decl., ¶ 4 and Ex.
15
     B at SCHICK000123-SCHICK000124. Both PLUS loans and subsidized Stafford loans are
16
     federal student loans. See https://studentaid.gov/understand-aid/types/loans/plus (last visited Mar.
17
     31, 2021) and https://studentaid.gov/understand-aid/types/loans/subsidized-unsubsidized (last
18
     visited Mar. 31, 2021). Since Plaintiff concedes she took out a private student loan, and since no
19
     private student loan appears on her student ledger, it is clear that the student ledgers do not
20
     encompass all funds she used to pay for her tuition, living expenses, and other expenses while
21
     attending school.
22

23
             For Plaintiff’s sophomore year, she contends she did not take out any private loans and that

24   her “tuition, housing, and other expenses were paid through Stafford loans, grants, and

25   scholarships.” Schick Decl., DE 19-1, p. 2, ¶¶ 4-5. A review of Plaintiff’s student ledgers shows


      Defendant’s Opposition to Partial Summary Judgment          THE O’MEARA LAW OFFICE
                                                                     1602 VIRGINIA AVE
      PAGE 15                                                        EVERETT, WA 98201
                                                              MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 16 of 27



1    this simply cannot be true. Plaintiff concedes she lived in an apartment from July/August 2007 to
2    May 2008, and estimates she paid between $500 and $800 per month in living expenses. O’Meara
3
     Decl., ¶ 4 and Ex. A at p. 2, 8, Int. Resp. 2, 13. This is at least ten months (possibly eleven) at an
4
     expense of between $5,000 and $8,000 for the school year, and between $2,500 and $4,000 for the
5
     semester. In the fall semester, Plaintiff received financial aid refunds of $390.00 and $1,150.00,
6
     for a total of $1,540.00. O’Meara Decl., ¶ 4 and Ex. B at SCHICK000125. For the spring
7
     semester, Plaintiff received financial aid refunds of $369.50 and $1,150.00, for a total of
8
     $1,519.50. O’Meara Decl., ¶ 4 and Ex. B at SCHICK000126.
9
             Even assuming Plaintiff put every single penny of these refunds towards her rent and living
10

11   expenses (which is a wholly unreasonable assumption considering she received refunds of $322.50

12   and $1,200.00, for a total of $1,522.50, in the spring semester of her freshman year after

13   accounting and paying for room and board in the amount of $2,670.0) (O’Meara Decl., ¶ 4 and

14   Ex. B at SCHICK000124), she is still short approximately $1,000-$2,500 each semester, and short
15
     approximately $2,000-$5,000 for the school year. 3 Plaintiff’s own documents show her “tuition,
16
     housing, and other expenses” could not possibly have been “paid through Stafford loans, grants,
17
     and scholarships,” despite her sworn declaration to the contrary. Schick Decl., DE 19-1, p. 2, ¶ 5.
18
     SLS contends the funds to pay these excess expenses came from the Bank of America loan, while
19
     Plaintiff neither identifies nor alleges any alternative source. Plaintiff’s own documents show
20
     there are questions of material fact rendering summary judgment inappropriate.
21
             Plaintiff has further provided inconsistent and contradictory discovery responses, which
22

23
     contradict both each other and her declaration. For example, Plaintiff acknowledges making

24

25   3
      Plaintiff also appears to have traveled to Paris in the spring semester of her sophomore year. O’Meara Decl., ¶ 4
     and Ex. B at SHCICK000126. Although not clear from the documents provided, it seems likely there were additional
     out of pocket expenses incurred for such a trip.
      Defendant’s Opposition to Partial Summary Judgment                       THE O’MEARA LAW OFFICE
                                                                                    1602 VIRGINIA AVE
      PAGE 16                                                                       EVERETT, WA 98201
                                                                         MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 17 of 27



1    payments to WFI but also denies having made them. Schick Decl., DE 19-1, p. 2, ¶ 11 and
2    O’Meara Decl., ¶ 4 and Ex. A at p. 6, 12-20, Int. Resp. 9 and RFA Resp. 4-23. If it is Plaintiff’s
3
     position that she made payments to WFI but that those payments were not toward the loan at issue,
4
     she is obligated to at least admit in part each request for admission no. 4-23. See Fed. R. Civ. P.
5
     36(a)(4) (“A denial must fairly respond to the substance of the matter; and when good faith requires
6
     that a party qualify an answer or deny only a part of a matter, the answer must specify the part
7
     admitted and qualify or deny the rest.”).
8
             Additionally, Plaintiff claims to have never received the loan and claims to have never
9

10
     made payments towards the loan, while simultaneously claiming she made interest payments

11   towards the loan balance while it was deferred. Schick Decl., DE 19-1, p. 3, ¶¶ 11, 17, and

12   O’Meara Decl., ¶ 4 and Ex. A at p. 6, 21, Int. Resp. 9, RFA Resp. 9. Specifically, her response to

13   the request “ADMIT you did not make any interest payments on the Student Loan while it was in

14   deferral status” is an objection and an unqualified denial. O’Meara Decl., ¶ 4 and Ex. A at p. 21,
15
     RFA Resp. 26. Her claim that she never received the loan and never paid payments towards the
16
     loan balance, on the one hand, and her claim that she made interest payments towards the loan
17
     while it was in deferral status, on the other hand, cannot simultaneously be true. Plaintiff simply
18
     cannot take two contradictory positions on material issues and then claim those issues are decided
19
     and the Court must rule in her favor.
20
             Plaintiff also admits to owing the debt to SLS in her 2018 telephone call to WFI. WFI
21
     Decl., ¶¶ 13-14 and Ex. B at Call Trans., p. 2. Although she submitted a declaration in claiming
22

23
     she never took out the loan, she does not explain why she acknowledged owing the loan to SLS

24   during that telephone call. While “a party might be able to explain away his prior inconsistent

25   statements…if he makes no attempt at explanation, he is stuck with those statements.” Seshadri


      Defendant’s Opposition to Partial Summary Judgment          THE O’MEARA LAW OFFICE
                                                                     1602 VIRGINIA AVE
      PAGE 17                                                        EVERETT, WA 98201
                                                              MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 18 of 27



1    v. Kasraian, 130 F.3d 798, 804 (7th Cir. 1997). Plaintiff’s unexplained prior admission contradicts
2    her sworn declaration. Because she has not explained that admission, she is bound by it and her
3
     motion should therefore be denied.
4
     c. The Pre-suit Communications Are Not Actionable
5
            Plaintiff’s claims fall into two general categories. One relates to SLS filing a lawsuit to
6
     collect her student loan originating with Bank of America, which she now contends she does not
7
     owe. For the reasons explained supra and infra, Plaintiff is not entitled to summary judgment with
8
     respect to that claim. The other claim relates to the pre-suit communications provided by the
9

10
     undersigned on behalf of SLS.           As explained herein, Plaintiff’s claims based on those

11   communications are not actionable.

12      i. FDCPA

13          Plaintiff asserts SLS violated the Fair Debt Collection Practices Act (“FDCPA”),

14   specifically asserting violations of 15 U.S.C. §§ 1692e, 1692e(2), 1692f, and 1692f(1). DE 19,
15
     pp. 11-13. 15 U.S.C. § 1692e states, “[a] debt collector may not use any false, deceptive, or
16
     misleading representation or means in connection with the collection of any debt.” The statute
17
     provides a non-exhaustive list of violative conduct, including “[t]he false representation of the
18
     character, amount, or legal status of any debt…” 15 U.S.C. § 1692e(2)(a). Section 1692f of the
19
     FDCPA states, “[a] debt collector may not use unfair or unconscionable means to collect or attempt
20
     to collect any debt.” The statute also provides a non-exhaustive list of violative conduct, including
21
     “[t]he collection of any amount…unless such amount ie expressly authorized by the agreement
22

23
     creating the debt or permitted by law.” 15 U.S.C. § 1692f(1).

24          Plaintiff’s claims under 15 U.S.C. §§ 1692e and 1692e(2) that the documents provided are

25   misleading is not actionable because Plaintiff never relied on the alleged misrepresentation. The


      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 18                                                         EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
               Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 19 of 27



1    Ninth Circuit recently concluded that a plaintiff who does not rely on alleged misstatements lacks
2    standing to pursue an FDCPA claim for the alleged misstatements. 4 See Adams v. Skagit Bonded
3
     Collectors, LLC, 836 Fed. Appx. 544 (9th Cir. 2020). The court said:
4
              Adams has not alleged actual harm or a material risk of harm to the interests
5             protected by the FDCPA. Nothing in the Complaint suggests he took or forewent
              any action because of the allegedly misleading statements in the letters. Rather, the
6             Complaint includes a bare allegation of confusion. Without more, confusion does
              not constitute an actual harm to Adam’s concrete interests. Nor do Adam’s
7             allegations suggest a material risk of harm to his interests. Although his
              supplemental brief offers a series of examples in which a hypothetical consumer
8             might detrimentally rely on an allegedly misleading creditor identification, the
              Complaint does not support an inference that Adams himself was ever at risk of
9
              detrimental reliance.
10
     Id. at 547 (citations and quotation marks omitted, emphasis in original). This case is simply
11
     another in a series of cases finding an FDCPA plaintiff lacks standing absent a harm or risk of
12
     harm. See, e.g., Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990 (11th Cir. 2020) and Casillas
13
     v. Madison Ave. Assoc., Inc., 926 F.3d 329 (7th Cir. 2019).
14
              To be clear, the issue of the propriety of filing SLS’s lawsuit against Plaintiff is separate
15
     and addressed otherwise herein. However, the issue of the pre-suit communications being
16

17   misleading is not actionable for the simple reason that Plaintiff never took action in reliance on

18   them. Instead, with the exception of exercising her statutory rights, she herself acknowledges she

19   only took action after she was sued. Schick Decl., DE 19-1, pp. 3-4, ¶¶ 19, 21. She does not

20   identify any reliance or any other action she took or failed to take because alleged
21   misrepresentations. Accordingly, those claims are not actionable.
22
              The same is true with respect to her claims under 15 U.S.C. §§ 1692f and 1692f(1), to the
23
     extent such claims are based on the attorney fee calculation provided. See Schick Decl., DE 19-1,
24

25
     4
      “[T]he jurisdictional issue of standing can be raised at any time…” U.S. v. Viltrakis, 108 F.3d 1159, 1160 (9th Cir.
     1997) (citation omitted).
      Defendant’s Opposition to Partial Summary Judgment                     THE O’MEARA LAW OFFICE
                                                                                   1602 VIRGINIA AVE
      PAGE 19                                                                      EVERETT, WA 98201
                                                                        MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 20 of 27



1    p. 12. Again, the propriety of seeking to collect the loan balance and filing suit on the same are
2    otherwise addressed herein. Plaintiff relies on McCollough v. Johnson, Rodenburg & Lauinger,
3
     LLC, 637 F.3d 939 (9th Cir. 2011) in an attempt to support her claim. Such reliance is misplaced.
4
     There, the defendant filed a lawsuit against the plaintiff which requested attorney’s fees and the
5
     court “concluded that [defendant] failed to meet its burden to show a genuine issue for trial because
6
     it presented no admissible evidence of a contract authorizing a fee award.” Id. at 950. Here,
7
     Plaintiff has already identified an agreement authorizing the collection of attorney’s fees. See DE
8
     1-1, pp. 22-26 and Schick Decl., DE 19-1, pp. 16-20. Specifically, it states: “[t]o the extent
9

10
     permitted by law, I agree to pay you all amounts you incur in enforcing the terms of this Credit

11   Agreement, including reasonable collection agency and attorney’s fees and court costs and other

12   collection costs.” DE 1-1, p. 24, ¶ E.6 and Schick Decl., DE 19-1, p. 18, ¶ E.6. This case is

13   therefore unlike McCollough. Moreover, the agreement does not require the filing of a lawsuit as

14   a prerequisite to collecting attorney’s fees.
15
             To the extent Plaintiff bases her claim on the amount contained in the attorney fee
16
     calculation provided, her claims are not actionable because SLS did not seek this amount in the
17
     complaint it filed. See DE 1-1, pp. 31-32 Schick Decl., DE 19-1, pp. 23-24. Instead, SLS only
18
     sought any statutory attorney’s fees to which it might be entitled. Id. Therefore, any risk
19
     associated with the amount of attorney’s fees in document provided had dissipated before Plaintiff
20
     filed suit and is no longer actionable. See Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990,
21
     1003 (11th Cir. 2020) (“Even if Trichell and Cooper were placed at risk of being defrauded when
22

23
     they received their collection letters, the risk never materialized, had dissipated before the

24   complaints were filed, and cannot possibly threaten any future concrete injury. For this additional

25   reason, Trichell and Cooper cannot show Article III standing based on a risk of injury.”). Since


      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 20                                                         EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 21 of 27



1    the complaint did not seek the amount identified in the attorney’s fees calculation, the risk
2    associated with identifying that amount has dissipated and that claim is not actionable. The
3
     propriety of filing a lawsuit at all is addressed otherwise herein.
4
       ii. State Law Claims
5
            Plaintiff alleges SLS violated the Washington Collection Agency Act (“WCAA”), as
6
     enforced through the Washington Consumer Protection Act (“CPA”). The Washington Supreme
7
     Court has said:
8
             [T]o prevail in a private CPA action and therefore be entitled to attorney fees, a
9
             plaintiff must establish five distinct elements: (1) unfair or deceptive act or practice;
10
             (2) occurring in trade or commerce; (3) public interest impact; (4) injury to plaintiff
             in his or her business or property; (5) causation.
11
     Hangman Ridge Training stables, Inc. v. Safeco Title Ins. Co. (105 Wash.2d 778, 780, 719 P.2d
12
     531, 533 (Wash. 1996) (en banc). Plaintiff asserts “[s]imply consulting an attorney is sufficient
13
     to show injury.” DE 19, p. 17 (citing Frias v. Asset Foreclosure Servs., Inc., 181 Wn.2d 412
14
     (2014) (citing Panag v. Farmers Ins. CO. of Wash., 166 Wn2d 27, 62) (2009))). The only injury
15
     Plaintiff claims is “her expenses in seeking counsel to determine her legal rights and
16

17   responsibilities…” which she contends “suffices for purposes of establishing this element.” DE

18   19, p. 17.

19           The problem is that Plaintiff acknowledges she only consulted with counsel after being

20   served with the lawsuit. Schick Decl., p. 3-4, ¶ 19. She also identifies money spent to send a
21   dispute letter to SLS through counsel. Schick Decl., p. 4, ¶ 21. The letter to which this dispute
22
     was sent identifies the amount of the debt and the current creditor but says nothing of attorney’s
23
     fees. Schick Decl., DE 19-1, p. 8. Any claimed liability with respect to this letter or the filing of
24
     the lawsuit under the WCAA and the CPA hinge entirely on whether Plaintiff actually took out the
25
     loan. As explained more thoroughly herein, the Court cannot decide that issue at this juncture.

      Defendant’s Opposition to Partial Summary Judgment             THE O’MEARA LAW OFFICE
                                                                        1602 VIRGINIA AVE
      PAGE 21                                                           EVERETT, WA 98201
                                                                 MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 22 of 27



1    Otherwise, Plaintiff attempts to assert her claims based on the documents provided on or about
2    July 7, 2020. Schick Decl., DE 19-1, pp. 10-21. Any claim with respect to these documents fails
3
     as a matter of law because Plaintiff identifies no injury associated with her receipt of these
4
     documents. Since Plaintiff’s remaining argument hinges on her FDCPA claim, SLS incorporates
5
     by reference its other arguments set forth herein.
6
     d. Plaintiff’s Motion is Premature and Otherwise Fails Regarding SLS’s Lawsuit
7
             Plaintiff’s claims are largely based on SLS’s filing of a lawsuit against her. As an initial
8
     matter, the filing of a lawsuit in and of itself does not violate the FDCPA even if a creditor does
9
     not ultimately succeed in the lawsuit. See, e.g., Heintz v. Jenkins, 514 U.S. 291, 296 (1995) (“[W]e
10

11   do not see how the fact that a lawsuit turns out ultimately to be unsuccessful could, by itself, make

12   the bringing of it an ‘action that cannot legally be taken.’”). Instead, her claims are based on her

13   contention she never received the loan. To that extent, Plaintiff’s motion is premature because the

14   state court lawsuit is still pending. Since the state court acquired jurisdiction first, it should be
15
     able to adjudicate the issue of whether Plaintiff received the loan. Otherwise, bout courts could
16
     reach inconsistent conclusions.
17
             Even if the Court disagrees, however, Plaintiff’s motion must be denied because Plaintiff
18
     has not established she does not owe the loan. She declares under penalty of perjury that she did
19
     not get the loan and her expenses were covered by her financial aid package. However, the
20
     document she provides to corroborate this statement shows her financial aid fell woefully short of
21
     covering her living expenses. SLS contends these excess expenses were covered by the loan she
22

23
     is now disavowing and Plaintiff provides no alternative explanation or funding source. She also

24   listed the loan on a bankruptcy petition in the exact amount then owed, made twenty payments

25   towards the loan balance, and admitted to owing the loan to SLS. The Court simply cannot


      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 22                                                         EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 23 of 27



1    conclude Plaintiff did not receive the loan based on the evidence submitted, especially when
2    Plaintiff fails and refuses to provide what may well be the best evidence. Viewing the facts in the
3
     light most favorable to SLS, as the Court must, Plaintiff simply has not carried her burden and her
4
     motion should be denied.
5
     e. SLS has a Bona Fide Error Defense
6
             Contrary to Plaintiff’s assertion, SLS does have a bona fide error defense to the extent
7
     Plaintiff bases her claims on not receiving the loan in question. SLS has provided supplemental
8
     discovery responses regarding this defense. See O’Meara Decl, ¶ 16 and Ex. C. Prior to placing
9

10
     and account with counsel for litigation, SLS has WFI conduct a review to determine whether the

11   account is suitable for litigation. See O’Meara Decl, ¶ 16 and Ex. C, SLS Decl., ¶¶ 34-36, and

12   WFI Decl., ¶¶ 13-18. WFI reviewed the documentation SLS received from Bank of America, as

13   well as its internal notes and Plaintiff’s payment history. Id. The documents SLS received from

14   Bank of America indicate that Plaintiff applied for and obtained a student loan. SLS Decl., ¶¶ 19,
15
     22. SLS did not receive any documents from Bank of America which would suggest or indicate
16
     that the loan was not provided or that Plaintiff disputed the loan. SLS Decl., ¶ 10. Prior to placing
17
     the account with counsel, WFI has no record of Plaintiff ever having disputed the loan and no
18
     record of Plaintiff ever having claimed to not have received the loan. WFI Decl., ¶ 17. To the
19
     contrary, WFI has telephone call recordings in which Plaintiff acknowledges owing the loan. WFI
20
     Decl., ¶¶ 13-14, 17. After reviewing all this documentation and information, and relying on same,
21
     WFI determined the account was suitable for placement with counsel to file a lawsuit, and the
22

23
     account was then placed with counsel. O’Meara Decl, ¶ 16 and Ex. C, SLS Decl., ¶¶ 35-36, WFI

24   Decl., ¶ 18. Accordingly, if and to the extent Plaintiff did not receive the funds as she contends,

25   then attempting to collect a loan not owed was a result of a bona fide error notwithstanding


      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 23                                                         EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 24 of 27



1    procedures reasonably adapted to avoid such an error. See 15 U.S.C. § 1692k(c) (“A debt collector
2    may not be held liable in any action brought under this subchapter if the debt collector shows by a
3
     preponderance of the evidence that the violation was not intentional and resulted from a bona fide
4
     error notwithstanding the maintenance of procedures reasonably adapted to avoid any such
5
     error.”). Plaintiff’s motion should therefore be denied.
6
     f. Defendant is Entitled to Additional Discovery
7
             SLS has substantially detailed the deficiencies in Plaintiff’s discovery responses supra. In
8
     addition to taking inconsistent and contradictory positions, she is also unwilling to admit to basic
9
     and straightforward facts. Incredibly, when asked to admit that language quoted verbatim from
10

11   one of the exhibits to her complaint appears in the exhibit, her responses were objections and

12   unqualified denials. O’Meara Decl., ¶ 4 and Ex. A at p. 20-21, RFA Resp. 24-25. The only

13   reasonable conclusions is that Plaintiff is intentionally obfuscating the facts, and the only

14   reasonable way to bring those facts to light is through additional discovery.
15
             SLS believes the Court has sufficient grounds to substantively deny Plaintiff’s motion. If
16
     the Court disagrees then, pursuant to Fed. R. Civ. P. 56(d), it should deny or defer ruling on
17
     Plaintiff’s motion because necessary facts are unavailable to SLS at this time. See O’Meara Decl.,
18
     ¶¶ 6-15 and Ex. A-B, and Declaration of Chad V. Echols (“Echols Decl.”), ¶¶ 3-13. At a
19
     minimum, SLS needs Plaintiff’s bank statements from the time the loan was disbursed and needs
20
     to depose her. O’Meara Decl., ¶ 14 and Echols Decl., ¶ 12 Importantly, Plaintiff failed to produce
21
     her bank statements despite the fact she did not object to the request, and despite the fact that she
22

23
     claimed to have produced them. O’Meara Decl., ¶¶ 4, 6-7 and Ex. A at p. 26, RFP Resp. 14, and

24   Ex. B at SHICK000001-000131. In an attempt to obtain these records, the undersigned sent a

25   letter to opposing counsel and co-counsel issued a subpoena directly to the bank. O’Meara Decl.,


      Defendant’s Opposition to Partial Summary Judgment            THE O’MEARA LAW OFFICE
                                                                       1602 VIRGINIA AVE
      PAGE 24                                                          EVERETT, WA 98201
                                                                MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 25 of 27



1    ¶¶ 9, 11 and Echols Decl., ¶¶ 5, 9 and Ex. A-B. Further, given Plaintiff’s difficulty in providing
2    consistent responses, it is clear that SLS needs to depose her. SLS has not yet noticed her
3
     deposition because of the belief that it would be most useful to do so after receiving all the relevant
4
     documentation. O’Meara Decl., ¶ 12 and Echols Decl., ¶ 10.
5
             SLS has been diligent in obtaining discovery, having served written discovery
6
     approximately three weeks (22 days, to be exact) after the filing of the joint status report and
7
     discovery plan. See DE 12 and O’Meara Decl., ¶¶ 3, 15 and Echols Decl., ¶ 13. After reviewing
8
     Plaintiff’s responses, SLS timely sent a letter detailing the deficiencies. O’Meara Decl., ¶ 9 and
9

10
     Echols Decl., ¶ 7. SLS has sought some of the relevant documentation from another source.

11   O’Meara Decl., ¶ 11 and Echols Decl., ¶ 9 and Ex. A-B. Finally, SLS needs to depose Plaintiff

12   given her unwillingness to admit basic facts and her inconsistent and contradictory responses.

13   Depending on what SLS receives back from its subpoena and depending on Plaintiff’s testimony,

14   additional discovery may also be warranted. Given that there are six and a half months left in the
15
     discovery period, SLS has sufficient time to obtain such discovery and should be given the
16
     opportunity to do so. Pursuant to Fed. R. Civ. P. 56(d), the Court should therefore deny Plaintiff’s
17
     motion, defer ruling on Plaintiff’s motion until the close of discovery, or issue another appropriate
18
     order permitting SLS to gather additional information to refute Plaintiff’s contentions.
19
                                              V.      CONCLUSIONS
20
             Plaintiff is not entitled to partial summary judgment on her claims. She is estopped from
21
     asserting she never received the loan at issue because her prior actions are consistent with her
22

23
     having received the loan. Moreover, she cannot make such a bare assertion while simultaneously

24   failing and refusing to provide relevant documentation which would almost certainly refute or

25   corroborate her claim. Plaintiff’s own evidence creates questions of material fact rendering


      Defendant’s Opposition to Partial Summary Judgment            THE O’MEARA LAW OFFICE
                                                                       1602 VIRGINIA AVE
      PAGE 25                                                          EVERETT, WA 98201
                                                                MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 26 of 27



1    summary judgement inappropriate. At a minimum, additional discovery is necessary to fully
2    establish the facts necessary to oppose Plaintiff’s motion. The Court should therefore deny
3
     Plaintiff’s motion or, alternatively, defer considering the motion until the close of discovery.
4
     This the 2nd day of April, 2021.                      Respectfully submitted,
5

6                                                          ____/s Michael S. O’Meara____________
                                                           Michael S. O’Meara/WSBA No. 41502
7                                                          Attorney for the Defendant

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



      Defendant’s Opposition to Partial Summary Judgment           THE O’MEARA LAW OFFICE
                                                                      1602 VIRGINIA AVE
      PAGE 26                                                         EVERETT, WA 98201
                                                               MICHAEL@OMEARALAWOFFICE.COM
              Case 2:20-cv-01529-BJR Document 22 Filed 04/02/21 Page 27 of 27



1                                       CERTIFICATE OF SERVICE
2            I certify that on April 2, 2021, a copy of the foregoing Defendant’s Opposition to Plaintiff’s
     Motion for Partial Summary Judgment was filed electronically. Service of this filing will be made
3
     on all ECF-registered counsel by operation of the Court’s electronic filing system, including on
4
     Plaintiff’s counsel as follows:

5    PARTIES SERVED:

6     T. Tyler Santiago                                    Christina L. Henry
      Jason D. Anderson                                    Henry & DeGraaff, P.S.
7     Anderson Santiago, PLLC                              787 Maynard Ave, S
      787 Maynard Ave, S                                   Seattle, WA 98104
8     Seattle, WA 98104
9

10
                                                             ____/s Michael S. O’Meara____________
11                                                           Michael S. O’Meara/WSBA No. 41502
                                                             Attorney for the Defendant
12

13

14

15

16

17

18

19

20

21

22

23

24

25



      Defendant’s Opposition to Partial Summary Judgment            THE O’MEARA LAW OFFICE
                                                                       1602 VIRGINIA AVE
      PAGE 27                                                          EVERETT, WA 98201
                                                                MICHAEL@OMEARALAWOFFICE.COM
